    Case 5:20-cr-00011-H-BQ Document 19 Filed 06/05/20             Page 1 of 1 PageID 45



                           TINITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF TEXAS
                                 LUBBOCKDIVISION

UNITED STATES OF AMERICA,
     Plaintiff,

                                                           NO. 5:20-CR-011-0l-H

GREGORY AUSTIN FLORES (1),
     Defendant.


                  ORDER ACCEPTING REPORT AND RECOMMENDATION
                     OF TIIE I'NTTED STATES MAGISTRATE JI]DGE
                            CONCERNING PLEA OF GI,JILTY

         After reviewing all relevant matters of record, including the Notice Regarding Entry

of a Plea of Guilty, the Consent of the Defendant, and the Report and Recommendation

Conceming Plea of Guilty of the United States Magistrate Judge, and no objections thereto

having been filed within fourteen (14) days of service in accordance with 28 U.S.C.

$   636(bxl), the undersigned District Judge is ofthe opinion that the Report and

Recommendation of the Magistrate Judge conceming the Plea of Guilty is correct, and it is

hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Defendant is hereby adjudged guilty.

         Sentence will be imposed in accordance with the Court's scheduling order.

         SO ORDERED.

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                                                  ESWESLEYHENDRIX
                                                    D STATES DISTRICT ruDGE
